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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff,                               )
                                               )
v.                                             )      Case No. CR-18-227-SLP
                                               )
JOSEPH MALDONADO-PASSAGE,                      )
                                               )
      Defendant.                               )

                                      ORDER

      Before the Court is the Government’s Second Motion to Unseal Document [Doc.

No. 192]. Defendant is directed to respond to this Motion on or before December 8, 2021.

      IT IS SO ORDERED this 1st day of December, 2021.
